       Case 1:07-cr-00046-CG-C Document 241 Filed 01/30/12 Page 1 of 1                                                   PageID #: 1199
AO 247 (Rev. 11/11) ALSD Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                       Southern District
                                                      __________         of of
                                                                  District  Alabama
                                                                               __________

                    United States of America
                               v.                                          )
                                                                           )
                MAURICE MARCELL CARTER                                         Case No:       07-00046-001
                                                                           )
                                                                           )   USM No: 09737-003
Date of Original Judgment:                            May 20, 2008         )
Date of Previous Amended Judgment:                                         )   Pro Se
(Use Date of Last Amended Judgment if Any)                                     Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of u   ✔  the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           u✔ DENIED. u GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of                    months is reduced to                                      .

                                             (Complete Parts I and II of Page 2 when motion is granted)


ADDITIONAL COMMENTS
 The defendant's original guideline range was 240 months. He was sentenced to 120 months following the
 Government's recommendation of a reduced sentence for substantial assistance. The defendant's current guideline
 range is still 240 months, because it is driven by the statutory mandatory minimum. Therefore, his comparable sentence
 is still 120 months under the Fair Sentencing Act of 2010.




Except as otherwise provided, all provisions of the judgment dated                                             shall remain in effect.
IT IS SO ORDERED.

Order Date:              January 30, 2012                                                      /s/ Callie V. S. Granade
                                                                                                     Judge’s signature


Effective Date:                                                                              United States District Judge
                     (if different from order date)                                                Printed name and title
